
• Order affirmed. While a denial of coram nobis relief is not res judicata as to a subsequent petition on the same grounds, the question whether to entertain such an application is ordinarily one of discretion (Matter of Bojinoff v. People, 299 N. Y. 145; People v. Martine, 303 N. Y. 789). Even when new or additional evidence, is claimed to have been found, the decision whether or not to hold a hearing on the new application is an exercise of judicial discretion (People v. Sullivan, 4 N Y 2d 472). In the' present instance there was no abuse of this discretion.
Concur: Chief Judge Desmond and Judges Dye, Fuld, Van Voorhis, Burke, Foster and Scileppi.
